
Giselle R. King, Respondent, 
againstLoretta Jefferson, Appellant.




Loretta Jefferson, appellant pro se.
Giselle R. King, respondent pro se (no brief filed).

Appeal from a judgment of the Civil Court of the City of New York, Kings County (Katherine A. Levine, J.), entered April 7, 2016. The judgment, after a nonjury trial, awarded plaintiff the principal sum of $900 and dismissed defendant's counterclaim.




ORDERED that the judgment is affirmed, without costs.
Plaintiff commenced this small claims action to recover her security deposit in the sum of $1,800, and defendant counterclaimed to recover the sum of $1,300 for several missing items and for property damage to the apartment. After a nonjury trial, the Civil Court awarded plaintiff the principal sum of $900 and dismissed defendant's counterclaim.
In a small claims action, our review is limited to a determination of whether "substantial justice has . . . been done between the parties according to the rules and principles of substantive law" (CCA 1807; see CCA 1804; Ross v Friedman, 269 AD2d 584 [2000]; Williams v Roper, 269 AD2d 125, 126 [2000]). The determination of a trier of fact as to issues of credibility is given substantial deference, as a trial court's opportunity to observe and evaluate the testimony and demeanor of the witnesses affords it a better perspective from which to assess their credibility (see Vizzari v State of New York, 184 AD2d 564 [1992]; Kincade v Kincade, 178 AD2d 510, 511 [1991]). This deference applies with greater force to judgments rendered in the Small Claims Part of the court (see Williams v Roper, 269 AD2d at 126). 
As the court's determination is supported by the record and provides the parties with substantial justice (see CCA 1804, 1807), the judgment is affirmed.
PESCE, P.J., ALIOTTA and SIEGAL, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: March 23, 2018










